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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                      V.
                                                          Case No. 21-mj-017-GMH
CLEVELAND MEREDITH,

               Defendant.



              CONSENT MOTION TO CONTINUE PRELIMINARY HEARING

       Cleveland Meredith, by and through its attorney, respectfully files this Consent Motion

to Continue the Preliminary Hearing in the above-captioned matter, currently scheduled for

January 28, 2021 until a date after February 28, 2021. In support thereof, Mr. Meredith states

as follows:

   1. On January 8, 2021, Mr. Meredith was arrested and charged by Criminal Complaint

       with Transmitting a Threat in Interstate Commerce, in violation of 18 U.S.C. § 875(c),

       Possession of an Unregistered Firearm, in violation of 7 D.C. Code § 2502.01(a), and

       Unlawful Possession of Ammunition, in violation of 7 D.C. Code § 2506.01(a). On

       January 14, 2021, this Honorable Court ordered that Mr. Meredith be detained pending

       trial. A preliminary hearing was set for January 28, 2021.

   2. The government and counsel for the defendant have conferred, and are continuing to

       communicate in an effort to resolve this matter.

   3. The parties, therefore, would respectfully request that the preliminary hearing be

       continued until a date after February 28, 2021. The parties agree that the interests and

       ends of justice are best served and outweigh the interests of the public and the defendant
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        in a speedy trial, and that this adjournment will allow the parties to continue

        negotiations in an effort to achieve a resolution before trial. Therefore, the parties agree

        that pursuant to 18 U.S.C. § 3161, the time from January 28, 2021 through the next

        court date shall be excluded in computing the date for speedy trial in this case.



       Wherefore, the parties respectfully request that the Court continue the Preliminary

Hearing in this matter until February 28, 2021, or to a date after that date convenient to the

Court’s calendar.
                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                     /s/__________________
                                              UBONG E. AKPAN
                                              Assistant Federal Public Defender
                                              625 Indiana Avenue, NW, Suite 550
                                              Washington, DC 20004
                                              (202) 208-7500


                                              Respectfully submitted,

                                              MICHAEL R. SHERWIN
                                              Acting United States Attorney
                                              N.Y. Bar No. 444418

                                                   By:    _              /s/
                                                         AHMED BASET
                                                         Assistant United States Attorney
                                                         Public Corruption & Civil Rights
                                                         Section
                                                         555 4th Street, N.W.
                                                         Washington, D.C. 20530
                                                         (202) 252.7097




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                               CERTIFICATE OF SERVICE


       I, Ubong E. Akpan, certify that on this 25th day of January 2021, I caused a copy of the

foregoing Consent Motion and Proposed Order to be filed through the Electronic Case Filing

(“ECF”) system and served a copy on counsel for the government through the ECF.



                                                       /s/_________________
                                            UBONG E. AKPAN
                                            Assistant Federal Public Defender




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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                           V.
                                                          Case No. 21-mj-017-GMH
 CLEVELAND MEREDITH,

                 Defendant.




                                            ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon

consent, it is therefore

        ORDERED that the parties shall appear for a Preliminary Hearing at_______ on

____________, 2021 by video conference. It is further

        ORDERED that pursuant to the representations made by the parties, the interests and

ends of justice are best served and outweigh the interests of the public and the defendant in a

speedy trial. Pursuant to 18 U.S.C. § 3161, the time from January 28, 2021 through ___________

____, 2021 shall be excluded in computing the date for speedy trial in this case.




                                             ______________________________________
                                             The Honorable Judge G. Michael Harvey




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